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                    Exhibit 2
                            Case 3:16-cr-00411-VC Document 116-2 Filed 09/19/17 Page 2 of 2
(7622 unread) - nmorgovsky@yahoo.com - Yahoo Mail                                                                                                                                               6/19/17, 1(57 AM


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                                           Customer contact name:              Morgovsky/Patricia
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                                                  Customer address:             244 Ashmore Road
  Smart Views                                                                             London
                                                                                          W9 3DD
    Important                                                                     United Kingdom
    Unread
    Starred                             Reservation info
                                        Confirmation code:                             BY71ED
    People
                                        Booking date:                                  09. Dec 2010
    Social
    Shopping                            Passenger info
                                       Title                                             First name                                         Last name
    Travel                             MR                                                NAUM                                               MORGOVSKY
    Finance                            MRS                                               IRINA                                              MORGOVSKY

  Folders                               Flight details
                                       Flight No.                    Departs from          Departure date                        Arrives in                    Arrival date
  Recent                               W6 203                        Budapest - Ferihegy 1 12. Dec 2010 12:20                    London Luton                  12. Dec 2010 13:55


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                                        Payment summary
                                       Payment date                         Payment method                        Payment ID                           Payment amount
                                       09. Dec 2010                         Visa Inet                             7687

                                        Payment details

                                       Type of service                                   Description                                        Total
                                       Base fare                                         Ticket fare                                                                      25080.00 HUF
                                       TAX 4                                             Facility charge                                                                   8900.00 HUF

                                       Type of service                                   Description                                        Total
                                       BAG                                               Baggage fee                                                                        8250.00    HUF
                                       FLEX                                              WIZZ Flex fee                                                                      2750.00    HUF
                                       FLEX                                              WIZZ Flex fee                                                                      2750.00    HUF
                                       CC                                                Booking fee                                                                        2750.00    HUF
                                                                                                                                            Grand total
                                                                                                                                            50480.00 HUF
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